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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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NATALIE GRAINGER,

                                                                     Case No.: 7:23-cv-01802-CS-VR
                          Plaintiff,

                 -against-                                           STIPULATION OF
                                                                     VOLUNTARY DISMISSAL
WESTCHESTER COUNTRY CLUB, INC., MARK                                 PURSUANT TO F.R.C.P.
CHRISTIANA AND TOM NEVIN,                                            41(a)(1)(A)(ii)

                          Defendants.

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        IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff and

Defendants through their respective undersigned counsel who are authorized to execute this

Stipulation, that the above-captioned action is dismissed in its entirety with prejudice, with each

party to bear their own costs and no award of attorneys’ fees, costs, and/or disbursements to any

party, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).

        This stipulation may be executed in one or more counterparts and facsimile or electronic

signatures such as .pdf, .tiff, or Docusign shall be deemed the same as an original.

Dated: New York, NY                                           Dated: New York, NY
       March 13, 2025                                                ______________,
                                                                     April 7         2025


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